                                  CASE 0:22-cr-00076-KMM-TNL Doc. 18 Filed 06/15/22 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )         COURT MINUTES - CRIMINAL
                                                         )            BEFORE: JOHN F. DOCHERTY
                                      Plaintiff,         )                U.S. Magistrate Judge
                                                         )
   v.                                                    )   Case No:           22-cr-76 KMM/TNL
                                                         )   Date:              June 15, 2022
William Charles Saffold (2),                             )   Video Conference
                                                         )   Time Commenced:    2:41 p.m.
                                      Defendant,         )   Time Concluded:     2:53 p.m.
                                                             Time in Court:     12 minutes



X DETENTION HRG ONLY


APPEARANCES:

   Plaintiff: Thomas Calhoun-Lopez, Assistant U.S. Attorney
   Defendant: Ryan Garry,
                  X CJA


On X Indictment

X Deft Ordered Detained - Govt to submit proposed order


Additional Information:
X Defendant consents to this hearing via video conference

Defendant arraigned, see arraignment minutes and order.




                                                                                                            s/SAE
                                                                                  Signature of Criminal Duty Clerk




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